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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            (S4) 23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
---------------------------------------------------------------x
SIDNEY H. STEIN, U.S. District Judge.

        The Court received ECF document numbers 318, 319, 320, and 321 earlier today. The

parties are directed to continue to attempt to negotiate a stipulation of simply the necessary facts.

The Court sees no reason why an appropriate stipulation cannot be reached. In the interim, the

government is not required to produce 3500 material and trial exhibits. The court has no current

intention of severing additional defendants from the May 6 trial. The parties are to report by

tomorrow at 1:00 p.m. whether they have reached agreement.


Dated: New York, New York
       April 15, 2024
